                  Case: 18-14846       Doc: 51       Filed: 03/22/19    Page: 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA

In re:                                           )
                                                 )
JUDITH DARLENE SNOW,                             )        Case No. 18-14846-JDL
                                                 )        Chapter 13
              Debtor.                            )
                                                 )

     DEBTOR’S NOTICE OF WITNESSES AND EXHIBITS FOR APRIL 12 HEARING

          Judith Snow, debtor in the above-captioned case (“Debtor”), pursuant to Local

Bankruptcy Rule 9014-1, submits this Notice of Witnesses and Exhibits to provide (i) a brief

description of exhibits to potentially be offered, (ii) names of all witnesses to potentially be

called, and (iii) an estimated length of time for Debtor to present evidence and argument at the

Hearing on Debtor’s Amended Objection to Proof of Claim #1 [Doc. No. 48] and Amended

Motion for Determination of Fees [Doc. No. 47] to be heard on Friday, April 12, 2019 at

9:30AM before The Honorable Chief Judge Janice Loyd, 215 Dean A. McGee Ave, 2nd Floor

Courtroom, Oklahoma City, OK 73102.

                                            Witnesses
             Debtors may call any one or more of the following witnesses at the Hearing.

No.                 Witness Name                                      Proposed Testimony
1.  Rebekah Qavi, or other authorized corporate              Billing practices of Lamun Mock
    representative                                           Cunnyngham & Davis; Contents,
                                                             methods, and time related to the
                                                             preparation and filing of Form 410S2
                                                             and/or Proof of Claim.

2.       Vinay Prasad, or other authorized corporate         Billing practices of Lamun Mock
         representative                                      Cunnyngham & Davis; Contents,
                                                             methods, and time related to the
                                                             preparation and filing of Form 410S2
                                                             and/or Proof of Claim.

3.       Greg Young, OBA 20899                               Billing practices of Lamun Mock
                                                             Cunnyngham & Davis; Contents,

                                                     1
               Case: 18-14846       Doc: 51    Filed: 03/22/19    Page: 2 of 4




                                                        methods, and time related to the
                                                        preparation and filing of Form 410S2
                                                        and/or Proof of Claim.

4.    Sherell Everette Dunn, or other authorized        Billing practices of Wells Fargo Bank
      corporate representative of Wells Fargo Bank      N.A.; Contents, methods, and time
      N.A.                                              related to the preparation and filing of
                                                        Form 410S2 and/or Proof of Claim.

5.    Matthew J. Hudspeth, OBA 14613                    Billing practices of Baer Timberlake,
                                                        P.C.; Contents, methods, and time
                                                        related to the preparation and filing of
                                                        Form 410S2 and/or Proof of Claim.

6.    Jim Timberlake, OBA 14945                         Billing practices of Baer Timberlake,
                                                        P.C.; Contents, methods, and time
                                                        related to the preparation and filing of
                                                        Form 410S2 and/or Proof of Claim.

7.    Michael George, OBA 22570                         Billing practices of Kivell, Rayment &
                                                        Francis, P.C.; Contents, methods, and
                                                        time related to the preparation and
                                                        filing of Form 410S2 and/or Proof of
                                                        Claim.

8.    Kirk Cejda, OBA 12241                             Billing practices of Shapiro & Cejda,
                                                        LLC; Contents, methods, and time
                                                        related to the preparation and filing of
                                                        Form 410S2 and/or Proof of Claim.

9.    Lesli Bailey-Peterson, OBA 14177                  Billing practices of Shapiro & Cejda,
                                                        LLC; Contents, methods, and time
                                                        related to the preparation and filing of
                                                        Form 410S2 and/or Proof of Claim.

10.   Rebuttal witnesses, if necessary                  N/A

11.   All witnesses listed by any other party in this   N/A
      matter or in In re Fanning (18-11163-JDL) or In
      re Morris (18-13787-JDL).




                                              2
               Case: 18-14846         Doc: 51    Filed: 03/22/19      Page: 3 of 4




                                         Exhibits
           Debtors may use any one or more of the following exhibits at the Hearing.

No.                                           Description
1.  All pleadings filed in this case as of the time of the Hearing
2.  All pleadings filed in In re Fanning (18-11163-JDL), In re Morris (18-13787-JDL), In re
    Sherwan (18-10134-JDL), and In re Mason (17-14878-JDL) as of the time of the Hearing.
3.  Rebuttal Exhibits
4.  All exhibits listed by any other party in this matter or in In re Fanning (18-11163-JDL) or
    In re Morris (18-13787-JDL).


                Estimated Length of Time to Present Evidence and Argument

       Debtors estimate that it will require up to 1 hour to present evidence and argument at the

Hearing.

                                      Reservation of Rights

       The foregoing is being submitted based on information reasonably available to Debtors at

this time and without waiving any objection as to relevance, materiality, or admissibility of

evidence at the Hearing. Debtors reserve the right at any time to amend, revise, correct,

supplement, or clarify this Notice.

                                                 Respectfully Submitted,
                                                 SANSONE HOWELL PLLC

                                                 /s/ Jason A. Sansone_____________________
                                                 Jason A. Sansone, OBA No. 30913
                                                 Sansone Howell PLLC
                                                 4600 SE 29th St., Suite 500
                                                 Del City, Oklahoma 73115
                                                 Telephone: (405) 455-1032
                                                 Facsimile: (866) 679-1329
                                                 Email: JSansone@SansoneHowell.com
                                                 COUNSEL FOR DEBTOR
Dated: March 22, 2019




                                                 3
               Case: 18-14846       Doc: 51     Filed: 03/22/19     Page: 4 of 4




                CERTIFICATE OF MAILING / ELECTRONIC SERVICE

       I, Jason A. Sansone, hereby certify that on March 22, 2019, a true and correct copy of the
above was electronically served using the CM/ECF system to John Hardeman, Chapter 13
Trustee, the Office of the United States Trustee, and:

Quicken Loans, Inc.
c/o Baer Timberlake, P.C.
4200 Perimeter Center, Suite 100
Oklahoma City, OK 73112


                                                /s/ Jason A. Sansone
                                                Jason A. Sansone, OBA 30913




                                                4
